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                      UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                 Eastern Division

Symbology Innovations LLC
                                      Plaintiff,
v.                                                        Case No.: 1:17−cv−00253
                                                          Honorable Amy J. St. Eve
Paper Source, Inc.,
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 27, 2017:


        MINUTE entry before the Honorable Amy J. St. Eve: Joint motion to dismiss [18]
is granted. All claims are hereby dismissed with prejudice with each party to bear its own
fees and costs. All pending dates and deadlines are stricken. Civil case terminated. Mailed
notice(kef, )




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